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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 1:17−cv−23365−KMW

  ALTAMETRY, INC.,

          Plaintiff,

  vs.

  IC REALTIME, LLC,

          Defendant.
                                               /

                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

          Plaintiff, Altametry, Inc., and Defendant, IC Realtime, LLC, pursuant to Fed. R. Civ. P.

  41(a)(1)(A)(ii) and through their respective attorneys, stipulate and agree that the above-styled

  action is dismissed in its entirety with prejudice, and with each party to bear its own attorney’s

  fees and costs.

  Dated: January 24, 2018                             Respectfully submitted,


  /s/ D. Porpoise Evans                                GREENBERG TRAURIG, P.A.
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 24, 2018, I electronically filed the foregoing with the

  Clerk of Court, using CM/ECF. I also certify that the foregoing document was served on all

  counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF, or via

  other means if required.

                                                     ___ /s/ David O. Batista                 __
                                                        DAVID O. BATISTA




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